Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 1 of 33 PageID #: 9667
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 2 of 33 PageID #: 9668




     hillarybunsow@bdiplaw.com              Matthew J. Moffa
     jscheufler@bdiplaw.com                 MMoffa@perkinscoie.com
     eday@bdiplaw.com                       Thomas V. Matthew
     ahand@bdiplaw.com                      TMatthew@perkinscoie.com
                                            Perkins Coie LLP
     Attorneys for Plaintiff                1155 Avenue of the Americas, 22nd Floor
     VIATECH TECHNOLOGIES, INC.             New York, NY 10036-2711
                                            (212) 262-6900

                                            Attorneys for Defendant
                                            ADOBE INC.




     {01938145;v1 }   -2-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 3 of 33 PageID #: 9669




                                                   TABLE OF CONTENTS

     I.       NATURE OF THE CASE ........................................................................................... 1

     II.      FEDERAL JURISDICTION ....................................................................................... 3

     III.     UNCONTESTED FACTS ........................................................................................... 3

     IV.      CONTESTED ISSUES OF FACT............................................................................... 5

     V.       ISSUES OF LAW THAT REMAIN TO BE LITIGATED ......................................... 5

     VI.      WITNESSES................................................................................................................ 5

              A.        ViaTech’s Trial Witnesses ............................................................................... 6

              B.        Adobe’s Trial Witnesses .................................................................................. 8

              C.        Testimony by Deposition ............................................................................... 10

     VII.     EXHIBITS ................................................................................................................. 11

     VIII.    DISCLOSURE OF WITNESSES, DEPOSITION
              TESTIMONY, EXHIBITS AND DEMONSTRATIVES
              DURING TRIAL ....................................................................................................... 13

              A.        Opening Statements ....................................................................................... 13

              B.        Witnesses ....................................................................................................... 14

              C.        Deposition Testimony .................................................................................... 15

              D.        Exhibits and Demonstratives ......................................................................... 17

              E.        Copies ............................................................................................................ 18

     IX.      VIATECH’S STATEMENT OF INTENDED PROOF ............................................ 19

     X.       ADOBE’S STATEMENT OF INTENDED PROOF ................................................ 20

     XI.      SETTLEMENT .......................................................................................................... 20

     XII.     AMENDMENTS TO THE PLEADINGS ................................................................. 21

     XIII.    OTHER MATTERS................................................................................................... 21

              A.        Length and Time of Trial ............................................................................... 21

     {01938145;v1 }                                                 i
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 4 of 33 PageID #: 9670




           B.    Order of Presentation of Evidence to the Jury ............................................... 21

           C.    Motions in Limine .......................................................................................... 22

           D.    Voir Dire, Jury Instructions, and Verdict Form ............................................. 23

           E.    Jurors and Jury Procedures ............................................................................ 24

           F.    Set-up of Electronic Equipment ..................................................................... 24

           G.    Handling of Confidential Information at Trial............................................... 24

           H.    Sequestration of Witnesses ............................................................................ 25

           I.    Other Stipulations .......................................................................................... 25

           J.    Disputed issues to be resolved at the pretrial conference. ............................. 26




                                                            -ii-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 5 of 33 PageID #: 9671




                                          EXHIBITS

     Exhibit A   ViaTech’s Statement of Contested Issues of Fact

     Exhibit B   Adobe’s Statement of Contested Issues of Fact

     Exhibit C   ViaTech’s Statement of Issues of Law that Remain to be Litigated

     Exhibit D   Adobe’s Statement of Issues of Law that Remain to be Litigated

     Exhibit E   ViaTech’s Deposition Designations and Adobe’s Counter Designations

     Exhibit F   Adobe’s Deposition Designations and Adobe’s Counter Designations

     Exhibit G   ViaTech’s Trial Exhibit List

     Exhibit H   Adobe’s Trial Exhibit List

     Exhibit I   Stipulation Regarding Source Code




                                                -iii-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 6 of 33 PageID #: 9672




  I.     NATURE OF THE CASE

         1.      This is a patent infringement case.

         2.      Plaintiff ViaTech Technologies, Inc. (“Plaintiff” or “ViaTech”) is a corporation

  organized and existing under the laws of the State of Delaware.

         3.       Defendant Adobe Inc. (“Defendant” or “Adobe”) is a corporation organized and

  existing under the laws of the State of Delaware.

         4.      On May 24, 2019, ViaTech filed a complaint against Adobe in the United States

  District Court for the District of Massachusetts alleging infringement of U.S. Patent No.

  6,920,567 (the “’567 Patent” or “Asserted Patent”). (D.I. 1.)

         5.      ViaTech’s Statement: On July 18, 2019, Adobe filed a Motion to Dismiss

  Plaintiff’s Complaint Pursuant to Fed. R. Civ. P. 12(b)(6) on the grounds that the claims of the

  ’567 Patent are invalid under 35 U.S.C. § 101 because they are directed to patent-ineligible

  subject matter. (D.I. 24.)

         6.      On August 30, 2019, Adobe filed a Motion to Transfer Venue to the Northern

  District of California or, alternatively, District of Delaware. (D.I. 35.)

         7.      On March 13, 2021, the Court granted Adobe’s Motion to Transfer Venue (D.I.

  35) and transferred the case to the District of Delaware. (D.I. 43.)

         8.      ViaTech’s Statement: On March 30, 2021, the Court denied Adobe’s Motion to

  Dismiss on § 101 grounds (D.I. 24). (D.I. 53.)

         9.      On April 13, 2021, Adobe filed an Answer to Plaintiff’s Complaint. (D.I. 54.)

         10.     The Court did not hold a Markman hearing because the parties agreed that the

  Court’s prior construction of claim terms in previously litigated related actions was sufficient for

  this action and that no Markman hearing would be necessary. (D.I. 84.) The Court issued its

  Claim Construction Order on November 1, 2021. (D.I. 86.)
  {01938145;v1 }                           1
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 7 of 33 PageID #: 9673




         11.     On April 22, 2022, Adobe filed a Motion to Dismiss under Rule 12(b)(1) for lack

  of subject matter jurisdiction. (D.I. 97.) On May 3, 2022, ViaTech filed a Complaint against

  Adobe in the District of Delaware, Case No. 1:22-cv-00598, that is substantially similar to the

  Complaint filed in this action. ViaTech filed the new complaint in case the Court granted

  Adobe’s Motion to Dismiss. On May 27, 2022, ViaTech moved to consolidate the two cases

  into one. (D.I. 121.) On June 24, 2022, the Court stayed the second litigation pending its ruling

  on the Motion to Dismiss, and deemed ViaTech’s Motion to Consolidate moot. (D.I. 141.) On

  February 23, 2023, the Court denied Adobe’s Motion to Dismiss. (D.I. 178.) On March 14,

  2023, the second litigation was administratively closed pending any appeal of the issues in the

  Court’s February 23, 2023 order.

         12.     Fact discovery closed on October 17, 2022 (D.I. 167), and expert discovery closed

  on March 3, 2023 (D.I. 175).

         13.     The following motions are pending:

                 ViaTech’s Motions

                       Motion for Partial Summary Judgment on Adobe’s affirmative defenses of

                        license, estoppel, waiver, and unclean hands (D.I. 186)

                       Daubert Motion and Objections to Expert Testimony regarding Adobe’s

                        expert witnesses Stephen Wicker, Nisha Mody, and William Rosenblatt

                        (D.I. 187)

                 Adobe’s Motions

                       Motion for Summary Judgment of Non-Infringement of the ’567 Patent

                        (D.I. 180)

                       Daubert Motion to Exclude Testimony of Jim Bergman (D.I. 181)


                                                 -2-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 8 of 33 PageID #: 9674




                        Daubert Motion to Exclude Testimony of Dr. Vijay Madisetti (D.I. 182)

          14.    A five-day jury trial in this matter is scheduled to take place on September 18-20

  and 25-26, 2023 starting at 9:30 a.m. each day. (D.I. 140; D.I. 192.)

          15.    The technology at issue involves tools for software licensing and management.

  ViaTech alleges that Adobe’s software products, such as Adobe Acrobat, Adobe Photoshop, and

  Adobe Illustrator, that include its AMT and NGL software activation technologies (collectively,

  the “Accused Products”) infringe Claims 1-5, 7, 13-14, and 28 of the ’567 Patent.

  II.     FEDERAL JURISDICTION

          16.    The Court has found that it has subject matter jurisdiction over this action. (D.I.

  178.)

          17.    The parties do not dispute that this Court has personal jurisdiction over Adobe.

          18.    The parties do not dispute that venue is proper in this District pursuant to 28

  U.S.C. §§ 1391 and 1400(b) at least because Adobe is incorporated in Delaware.

  III.    UNCONTESTED FACTS

          The following facts are not disputed and have been agreed to and stipulated to by the

  parties. The parties agree that this list of uncontested facts may be read to the jury.

          19.    Adobe Inc. is a corporation organized and existing under the laws of the State of

  Delaware.

          20.    ViaTech Technologies, Inc. is a corporation organized and existing under the laws

  of the State of Delaware.

          21.    On July 19, 2005, the United States Patent and Trademark Office issued United

  States Patent No. 6,920,567 (the “’567 Patent”) entitled “System and Embedded License Control

  Mechanism for the Creation and Distribution of Digital Content Files and Enforcement of


                                                   -3-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 9 of 33 PageID #: 9675




  Licensed Use of the Digital Content Files” to ViaTech Technologies, Inc. with Robert J.

  Doherty, Peter L. Tierney, and Marios Arnaoutoglou-Andreou listed as inventors.

          22.     The ’567 Patent issued from U.S. Application No. 09/544,682, filed on April 7,

  2000.

          23.     The ’567 Patent claims priority to Provisional Application No. 60/128,152, filed

  on April 7, 1999.

          24.     The ’567 Patent expired on April 7, 2020.

          25.     ViaTech is the owner of all substantial rights, title and interest in and to the ’567

  Patent, including the right to sue for infringement for damages for all past, present, and future

  time periods.

          26.     ViaTech filed this lawsuit on May 24, 2019.

          27.     Adobe made, used, sold, and offered for sale in the United States, and imported

  into the United States, products that include Adobe’s AMT software activation technology from

  at least as early as 2010 to at least 2018.

          28.     Adobe has made, used, sold, and offered for sale in the United States, and

  imported into the United States, products that include Adobe’s NGL software activation

  technology since at least as early as 2018, and through the expiration of the ’567 patent.

          29.     The hypothetical negotiation date is April 2010.

          30.     Pursuant to 35 U.S.C. §287, Adobe was on notice that its activation software

  allegedly infringed the ’567 patent no later than April 10, 2015, by virtue of a letter from

  Michael J. Lennon to Michael Dillon, Senior Vice President, General Counsel and Corporate

  Secretary of Adobe. Adobe never responded to the April 10, 2015 letter.




                                                    -4-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 10 of 33 PageID #: 9676




          31.     The data and calculations in Exhibits 1, 2.1, 2.2, 3.1 and 3.2 to the Expert Report

   of Jim W. Bergman are accurate.

   IV.    CONTESTED ISSUES OF FACT

          ViaTech’s Statement of Contested Issues of Fact is attached as Exhibit A.

          Adobe’s Statement of Contested Issues of Fact is attached as Exhibit B.

          All identified issues of fact shall also be deemed to be issues of law.

   V.     ISSUES OF LAW THAT REMAIN TO BE LITIGATED

          ViaTech’s Statement of Issues of Law that Remain to be Litigated is attached as

   Exhibit C.

          Adobe’s Statement of Issues of Law that Remain to be Litigated is attached as Exhibit D.

          All identified issues of law shall also be deemed to be issues of fact.

   VI.    WITNESSES

          32.     Any witness not listed in either party’s witness list will be precluded from

   testifying, absent good cause. In the absence of an alternative agreement among the parties,

   witnesses will be sequestered unless a fact witness is also a party’s corporate representative(s) at

   trial. The parties agree that expert witnesses need not be sequestered.

          33.     Except as provided under D. Del. LR 43.1 or by express permission of the Court,

   once tendered for cross examination, no witness shall communicate with anyone else regarding

   the substance of the witness’s testimony until such time as the witness is excused by the Court

   from examination, including any redirect.

          34.     The listing of a witness on a party’s pre-trial witness list does not require that

   party to call that witness to testify, and does not necessarily mean that the listing party has the

   power to compel the live testimony of that witness.


                                                    -5-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 11 of 33 PageID #: 9677




           35.      The parties are not permitted to recall fact or expert witnesses to testify multiple

   times, unless the Court orders otherwise or the witness is recalled for rebuttal purposes.

           36.      The parties’ witness lists represent the parties’ good faith understanding and

   expectation about which witnesses are expected to be called live in person, or by deposition, at

   trial. To the extent that a witness’s circumstances change, or a witness otherwise becomes

   unavailable for trial, each party reserves the right to call that witness by deposition to the extent

   permitted under the Federal Rules of Civil Procedure and the Federal Rules of Evidence and

   subject to resolution of objections by the other party.

           A.       ViaTech’s Trial Witnesses

           Aside from those called solely for impeachment, ViaTech may present the following

   witnesses at trial, either live or by deposition:

    Witness                              Method                             May / Will Call

    Robert Doherty                       Live                               Will Call

    Frank Sola                           By deposition                      May Call

    Peter Tierney                        Live                               Will Call

    Marios Arnaoutoglou-Andreou          Live                               May Call

    Charlie Way                          Live                               May Call

    Peter Jonietz                        Live                               May Call

    Jim Bergman                          Live                               Will Call

    Vijay Madisetti                      Live                               Will Call

    Daniel Brotsky                       Live or Deposition                 May Call

    Bob Murata                           Deposition                         May Call

    Michael Draper                       Live or Deposition                 May Call


                                                       -6-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 12 of 33 PageID #: 9678




    Witness                             Method                           May / Will Call

    Jonathan Crawford                   Live or Deposition               Will Call

    Richard Atkinson                    Deposition                       May Call

    Avinash Kotwal                      Deposition                       May Call

    Pamela Wright                       Deposition                       May Call

    Wei Cheng                           Deposition                       May Call



          ViaTech expressly reserves the right to call live or by deposition, any witness on Adobe’s

   list of trial witnesses. ViaTech also reserves the right to call by deposition any of the witnesses

   identified in its deposition designations. ViaTech also reserves the right to call by deposition any

   of its own witnesses who are not available for trial.

          ViaTech reserves the right to amend or supplement its trial witness list as part of the meet

   and confer process leading up to trial, in response to Adobe’s pretrial disclosures and objections,

   in response to any pretrial rulings or orders from the Court, and in the event that any of the

   individuals listed become unable to attend the trial or otherwise unable to provide testimony.

   ViaTech also reserves the right to call rebuttal witnesses.

          ViaTech reserves the right not to call one or more of the trial witnesses identified above.

   ViaTech also reserves the right to object on any grounds to the admissibility of the testimony of

   trial witnesses on its own or Adobe’s witness lists and further reserves the right to move for the

   exclusion of such testimony. Inclusion on this list does not imply or establish that Adobe may

   compel the live testimony of that witness and does not waive any objections that ViaTech may

   have should Adobe seek to introduce testimony of that witness.




                                                     -7-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 13 of 33 PageID #: 9679




          B.        Adobe’s Trial Witnesses

          Aside from those called solely for impeachment, Defendant Adobe, Inc. may present the

   following witnesses at trial, either live or by deposition:


                 Witness                 Method                        May / Will Call

    William Rosenblatt                   Live                    Will Call

    Steven Wicker                        Live                    Will Call

    Nisha Mody                           Live                    Will Call

    Michael Draper                       Live                    Will Call

    Daniel Brotsky                       Live                    Will Call

    Robert Murtagh                       Live                    May Call

    Jonathan Crawford                    Live or Deposition      Adobe does not presently
                                                                 intend to call this witness
                                                                 live but reserves the right
                                                                 to seek to do so based on
                                                                 testimony elicited in
                                                                 ViaTech’s case in chief.
    Pam Wright                           Deposition              May Call

    Avinash Singh Kotwal                 Live or Deposition      May Call



    Marios Arnaoutoglou-Andreou          Live or Deposition      May Call

    Frank Sola                           Deposition              May Call

    Robert Doherty                       Deposition              May Call

    Peter Tierney                        Deposition              May Call

    Thomas Major                         Deposition              May Call

    Richard Atkinson                     Live or Deposition      May Call



                                                    -8-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 14 of 33 PageID #: 9680




                 Witness                 Method                             May / Will Call

    Sanford Bingham                      Live 1                       Will Call



          Adobe expressly reserves the right to call live or by deposition, any witness on ViaTech’s

   list of trial witnesses. Adobe also reserves the right to call by deposition any of the witnesses

   identified in its deposition designations. Abode also reserves the right to call by deposition any of

   its own witnesses who are not available for trial.

          Adobe reserves the right to amend or supplement its trial witness list as part of the meet

   and confer process leading up to trial, in response to ViaTech’s pretrial disclosures and objections,

   in response to any pretrial rulings or orders from the Court, and in the event that any of the

   individuals listed become unable to attend the trial or otherwise unable to provide testimony.

   Adobe also reserves the right to call rebuttal witnesses.

          Adobe reserves the right not to call one or more of the trial witnesses identified above.

   Adobe also reserves the right to object on any grounds to the admissibility of the testimony of trial

   witnesses on its own or ViaTech’s witness lists and further reserves the right to move for the

   exclusion of such testimony. Inclusion on this list does not imply or establish that ViaTech may

   compel the live testimony of that witness and does not waive any objections that Adobe may have

   should ViaTech seek to introduce testimony of that witness.




   1 Mr. Bingham is not available to testify the week of September 25. The parties will cooperate to
   enable Mr. Bingham to testify during the week of September 18.
                                                   -9-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 15 of 33 PageID #: 9681




          C.      Testimony by Deposition

          37.     ViaTech’s list of deposition designations, Adobe’s objections and counter-

   designations, ViaTech’s objections and counter-designations to the counter-designations, and

   Adobe’s objections to the counter-counter-designations are attached hereto as Exhibit E.

          38.     Adobe’s list of deposition designations, ViaTech’s objections and counter-

   designations, Adobe’s objections and counter-designations to the counter-designations, and

   ViaTech’s objections to the counter-counter-designations are attached hereto as Exhibit F.

          39.     The parties agree that objections and statements by counsel will not be introduced

   except where necessary to understand the answer to the question, which will only be included by

   mutual agreement. The parties agree that, subject to resolution of any objections, exhibit(s)

   referenced in a designated deposition excerpt may be presented and shown to the jury at the same

   time that the excerpt is played or read.

          40.     When a witness is called to testify by deposition at trial, the party calling the

   witness shall provide the Court with two copies of the transcript of the designations, counter-

   designations, and counter-counter-designations that will be read or played. The parties will be

   charged for the time taken to read or play its designations (or counter-designations or counter-

   counter-designations). Specifically, any affirmative designations offered by a party will count

   against that party’s trial presentation time, any counter-designations by the other party will count

   against the party who made the counter-designations, and any counter-counter-designations will

   count against the party who made the counter-counter-designations. The time charged for

   designations played by video will be measured by the proportion of the number of lines of

   testimony for its designations to the total number of lines of testimony read.




                                                   -10-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 16 of 33 PageID #: 9682




   VII.   EXHIBITS

          41.     ViaTech’s exhibit list, other than those to be used for impeachment, and Adobe’s

   objections thereto, is submitted as Exhibit G. ViaTech’s exhibits will be identified with PX and

   PPX numbers, starting with PX001 and PPX001.

          42.     Adobe’s exhibit list, other than those to be used for impeachment, and ViaTech’s

   objections thereto, is submitted as Exhibit H. Adobe’s exhibits will be identified with DX and

   DTX numbers, starting with DTX001.

          43.       Any exhibit not listed in a party’s exhibit list other than those to be used solely

   for impeachment will be precluded from admission at trial, absent agreement of the parties or

   good cause shown. Changes based on the Court’s rulings on pending motions in limine or

   dispositive or Daubert motions shall be presumed to provide good cause if presented within three

   (3) business days of any such ruling.2

          44.     On or before the first day of trial, counsel will deliver to the Courtroom Deputy a

   completed AO Form 187 exhibit list for each party.

          45.     The parties agree that any description or date of a document on an exhibit list is

   provided for convenience only and may not be used as an admission or otherwise as evidence

   regarding the listed document or any other listed document.

          46.     Any documents, deposition transcripts, or portions thereof, or other items, not

   specifically identified herein or offered into evidence, may still be used at trial for purposes of

   impeachment, subject to any rulings of the Court or motions in limine, if otherwise competent




   2 The parties are still working toward resolution of exhibit issues relating to the FileOpen
   exhibits, which are exempted from this provision for both parties.
                                                    -11-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 17 of 33 PageID #: 9683




   for such purposes, and may be admitted into evidence consistent with the requirements of the

   Federal Rules of Evidence.

           47.     In order to reduce the number of duplicate exhibits, where a deposition excerpt

   references a document by exhibit number and that identical document was also marked with a

   different trial exhibit number, a party may substitute one exhibit for the other. In addition, the

   parties will promptly meet and confer regarding replacing any poor print or digital quality copies

   of exhibits with substantively identical improved or higher quality or color copies.

           48.     Legible photocopies of documents may be offered and received in evidence in

   lieu of originals thereof. Electronic versions of document exhibits in their native format, such as

   spreadsheets or presentations, may be offered into evidence in lieu of paper or PDF versions.

   The parties will timely exchange replacement versions and/or native versions of exhibits prior to

   use in trial.

           49.     The parties agree that any party may seek to offer as evidence an exhibit present

   on another party’s exhibit list, subject to any objections that may be made.

           50.     Adobe’s Position: No party will remove a document from its exhibit list or a

   deposition designation without agreement from the other party unless it provides the other party

   the opportunity to add the document to its exhibit list or deposition designations. ViaTech’s

   Position: ViaTech agrees to this procedure except to the extent that a document or designation

   indicates that it is subject to removal pending the outcome of pending motions.

           51.     The parties will meet and confer regarding their respective objections in an effort

   to resolve all objections and issues prior to presenting them to the Court.

           52.     The parties agree that demonstrative exhibits the parties and experts intend to use

   at trial do not need to be included on their respective lists of trial exhibits attached hereto. Each


                                                    -12-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 18 of 33 PageID #: 9684




   demonstrative exhibit shall identify by exhibit number all trial exhibits that form the basis of the

   demonstrative exhibit. Demonstratives shall be submitted to the Court at the end of trial and

   included in the record for appeal. ViaTech’s demonstrative exhibits will be identified with PDX

   numbers, starting at PDX1. Adobe’s demonstrative exhibits will be identified with DTX

   numbers, starting with DDX1.

          53.     The parties agree that they will not dispute the authenticity of a party’s documents

   produced by that party during discovery, which on its face appears to have been authored by an

   employee, officer or agent of the producing party in the ordinary course of business, and that

   such documents shall be deemed prima facie authentic, subject to the right of the party against

   whom such a document is offered to adduce evidence to the contrary or to require the offering

   party to provide authenticating evidence if the opposing party has a reasonable basis to believe

   that the document is not authentic.

   VIII. DISCLOSURE OF WITNESSES, DEPOSITION TESTIMONY, EXHIBITS AND
         DEMONSTRATIVES DURING TRIAL

          A.      Opening Statements and Closing Arguments

          54.     Any demonstratives to be used during opening statements are to be exchanged by

   10:00 a.m. the day before the opening statements. Any objections to those demonstratives must

   be provided by 4:00 p.m. the same day (the day before the opening statements). The parties shall

   meet and confer telephonically or in person in an attempt to resolve any objections to these

   demonstratives at 8:00 p.m. If objections cannot be resolved by the parties, the unresolved issues

   will be raised with the Court before opening statements are to be presented to the jury.

          55.     Closing demonstratives will be exchanged. Timing of such exchange will depend

   on how the trial progresses; neither party will be expected to exchange closing demonstratives

   until the presentation of evidence had ended. The parties will work in good faith to provide

                                                   -13-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 19 of 33 PageID #: 9685




   adequate time for the opposing party to review demonstratives. Provided that evidence closes

   the day prior to closing arguments, any demonstratives to be used during closing arguments are

   to be exchanged by 7:00 p.m. the night before the closing arguments. Any objections to those

   demonstratives must be provided by 8:00 p.m. the same day (the day before the closing

   arguments). The parties shall meet and confer telephonically or in person in an attempt to

   resolve any objections to these demonstratives. If objections cannot be resolved by the parties,

   the unresolved issues will be raised with the Court before closing arguments are to be presented

   to the jury.

           B.      Witnesses

           56.     The parties shall disclose, with their best good faith understanding, by email the

   identity of any witnesses they intend to call, including rebuttal witnesses, the order in which

   witnesses will be called, and whether each such witness will be called live or by deposition, by

   7:00 p.m. two (2) calendar days before the day of trial during which the witness will testify. In

   other words, if a witness will testify on a Wednesday, the witness must be identified by 7:00 p.m.

   on Monday prior to said Wednesday. The parties reserve the right to revise, in good faith, their

   witness identifications, including order. The parties shall also disclose any exhibits intended to

   be used with such witnesses in accordance with Section VIII.D.

           57.     The other party will identify any objections to such witnesses via e-mail by 9:00

   p.m., and the parties will meet and confer to resolve any objections by 9:30 p.m. that same

   evening. Any unresolved objections shall be brought to the Court’s attention for resolution no

   later than the start of the trial day on which the witness is expected to testify. If later events

   cause the need to remove a witness from a party’s witness list, the parties agree to notify the

   other side as soon as possible.


                                                    -14-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 20 of 33 PageID #: 9686




          58.     During adjournments in the trial including breaks during the trial and overnight,

   the offering party may discuss with a witness his or her testimony on direct examination until the

   witness is passed for cross-examination and cross-examination has commenced, but is prohibited

   from discussing with the witness his or her testimony from the conclusion of direct examination

   until such time as the witness is excused by the Court from examination, including any redirect,

   except that this does not preclude discussions with witnesses that are excused but may be

   recalled as rebuttal witnesses. Depending on the status of the trial at the time of adjournment on

   Wednesday, the parties reserve the right to seek permission to speak with the witness. For

   example, if that witness is also expected to be called as rebuttal witness on topics unrelated to the

   testimony in ViaTech’s case in chief, ViaTech may request permission to speak to the witness

   about to prepare the rebuttal testimony.

          C.      Deposition Testimony

          59.     Unless otherwise agreed to between the parties, the party offering deposition

   testimony (other than for the purpose of impeachment) shall identify the deposition testimony to

   be offered, i.e., transcript page and line numbers of exchanged designations, by 7:00 p.m. two (2)

   calendar days prior to the testimony being offered into the record. The party receiving the

   designations shall inform the opposing party of any objections and counter-designations by 9:00

   p.m. that same day. The parties shall meet and confer to resolve any objections to designated

   testimony by 9:30 p.m. that same day to permit sufficient time to resolve any objections. Any

   unresolved objections shall be brought to the Court’s attention for resolution no later than the

   start of the trial day on which the deposition testimony is expected to be played or read. The

   party calling the witness shall submit, on behalf of all parties: (i) A copy of the entire deposition

   testimony of the witness at issue, clearly highlighting the designations, counter-designations,

   counter-counter-designations, and pending objections; and (ii) a cover letter clearly identifying
                                                -15-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 21 of 33 PageID #: 9687




   the pending objections as well as a brief indication (i.e., no more than two sentences per

   objection) of the basis for the objection and the offering party’s response to it. Failure to comply

   with these procedures, absent an agreement by the parties and approval by the Court, will result

   in waiver of the use of the deposition testimony or waiver of objection to the use of the

   deposition testimony. The party introducing the deposition testimony shall be responsible for

   editing the deposition video to include the testimony and any counter-designation and counter-

   counter-designation testimony.

          60.     To the extent that deposition designations, counter-designations, or counter-

   counter-designations are admitted into evidence, they must either be played by video or read in

   open court. If a party opts to introduce deposition testimony, any counter-designation and

   counter-counter-designation of that same witness’s testimony must be admitted in the same

   medium, and the testimony designated by both sides will be played or read consecutively in the

   sequence in which the testimony was originally given at deposition. If an exhibit is referenced in

   a deposition designation, and the designation is not objected to, the exhibit is admitted into

   evidence if it is included on any party’s trial exhibit list and is not otherwise objected to, subject

   to Section VII (Exhibits).

          61.     The parties agree that Mr. Sola is unavailable for trial and that ViaTech may play

   any portions of Mr. Sola’s depositions during trial, subject to resolution of any objections that

   Adobe may have that are unrelated to Mr. Sola’s availability. ViaTech will provide updated

   designations for Mr. Sola by 3PM ET on Monday, September 11 and Adobe will provide

   updated counter-designations and objections by 3PM ET on Wednesday, September 13, to which

   ViaTech will provide counter-counter designations and objections by 3 PM ET on Thursday,

   September 14. ViaTech’s designations of testimony subject to outstanding Daubert motions and


                                                    -16-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 22 of 33 PageID #: 9688




   motions in limine, such as regarding Electronic Arts, Dr. Mody’s testimony regarding the 2011

   offer, and ViaTech’s monetization efforts will be conditional and subject to withdrawal

   depending on the outcome of those motions. ViaTech waives no objections by designating

   testimony on these topics.

          62.     In addition, the parties agree have reached agreement regarding language

   regarding Mr. Sola’s absence from trial. After ViaTech’s first fact witness mentioning Mr. Sola

   concludes his testimony, the Court should read a statement: “You have heard some testimony

   that mentions Mr. Sola, ViaTech’s CEO from the early 2000’s until now. The parties agree that

   Mr. Sola is not available to testify in person. However, the parties agree that deposition

   testimony of Mr. Sola from several years ago may be offered during the course of the trial

   because he cannot attend the trial.”

          63.     To the extent deposition designations are read or played in open court, each side

   will be charged the time taken to read or play its designations (or counter-designations or

   counter-counter-designations) in accordance with paragraph 40.

          64.     The above procedures regarding deposition designations do not apply to portions

   of deposition transcripts and/or video of a witness used for impeachment or cross-examination of

   that witness. Any deposition testimony of a witness may be used at trial for the purpose of

   impeachment of that witness, regardless of whether a party specifically identified that testimony

   on its list of deposition designations, if the testimony is otherwise competent for such purpose.

          D.      Exhibits and Demonstratives

          65.     For direct examination, each party shall provide to the other side a list of all

   exhibits and make physical exhibits available for inspection, and shall provide color copies of all

   demonstratives in PDF form or, if a demonstrative cannot be placed in PDF form, in its native

   form via a downloadable link or email attachment, by no later than 7:00 p.m. one (1) calendar
                                                -17-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 23 of 33 PageID #: 9689




   day before the party intends to call each witness. The parties shall exchange objections to these

   exhibits and demonstratives by 9:00 p.m. on the day they are received. The parties shall meet

   and confer regarding any objections to these exhibits and demonstratives at 9:30 p.m. on the day

   they are received.

          66.     For cross examination, each party shall provide to the other side a list of all

   exhibits and make physical exhibits available for inspection, and shall provide color copies of all

   demonstratives in PDF form or, if a demonstrative cannot be placed in PDF form, in its native

   form via a downloadable link or email attachment, by no later than 7:00 p.m. the day before their

   anticipated use. The parties shall exchange objections to these exhibits and demonstratives by

   9:00 p.m. on the day they are received. The parties shall meet and confer regarding any

   objections to these exhibits and demonstratives at 9:30 p.m. on the day they are received. This

   does not apply to exhibits or demonstratives used for impeachment relating to testimony elicited

   during direct examination.

          67.     Any unresolved objections shall be brought to the Court’s attention for resolution

   no later than the start of the trial day on which the exhibit or demonstrative is intended to be

   used. This provision does not apply to exhibits or demonstratives created during testimony,

   which do not need to be provided to the other side in advance of their use. This provision also

   does not apply to demonstratives previously used during trial. In addition, blow-ups or

   highlights of exhibits or parts of exhibits or testimony are not required to be provided to the other

   side in advance of their use unless they are contained within a demonstrative (e.g., included in a

   slide deck).

          E.      Copies

          68.     Prior to the start of direct examination of a particular witness, the party

   conducting the direct examination will provide the other party with one (1) copy of binder(s)
                                                 -18-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 24 of 33 PageID #: 9690




   containing all exhibits and demonstratives that they intend to use with that witness on direct

   examination and will provide the three (3) required copies to the Court.

          69.     At the start of cross examination, the witness, counsel and the court should be

   provided with a binder of materials expected to be used on cross examination previously

   identified pursuant to paragraph 66 above. This does not apply to exhibits or demonstratives to

   be used solely for impeachment relating to testimony elicited during direct examination.


   IX.    VIATECH’S STATEMENT OF INTENDED PROOF

          70.     ViaTech’s Statement of Intended Proof is limited to its expected proof with regard

   to its claims, and does not address the proof that it may choose to present in response to the

   defenses for which Adobe has the burden of proof and may present at trial. ViaTech’s statement

   is based on the current status of the case and the Court’s current rulings. ViaTech reserves the

   right to revise this statement in light of further decisions or orders of the Court, including without

   limitation any rulings on pending motions.

          71.     ViaTech intends to prove that Adobe has directly infringed, either literally or

   under the doctrine of equivalents, Claims 1-5, 7, 13-14, and 28 of the ’567 Patent by making,

   using, offering for sale, and/or selling the Accused Products in the United States, and/or

   importing the Accused Products into the United States.

          72.     ViaTech intends to prove that Adobe has indirectly infringed Claims 1-5, 7, 13-

   14, and 28 of the ’567 Patent by inducing others (e.g., customers, distributors, and end users) to

   directly infringe, either literally or under the doctrine of equivalents, the claims.

          73.     ViaTech intends to prove that Adobe has indirectly infringed Claims 1-5, 7, 13-

   14, and 28 of the ’567 Patent by contributing to another’s (e.g., customers, distributors, and end

   users) direct infringement of the claims, either literally or under the doctrine of equivalents.

                                                    -19-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 25 of 33 PageID #: 9691




          74.     ViaTech intends to prove that Adobe’s infringement was willful.

          75.     ViaTech intends to prove the damages of not less than a reasonable royalty that

   should be awarded for Adobe’s infringement, plus pre- and post-judgment interest and costs.

          76.     ViaTech intends to prove that enhanced damages, up to a trebled amount, should

   be awarded for Adobe’s willful infringement.

          77.     ViaTech intends to prove that it should be awarded its reasonable attorneys’ fees

   under at least 35 U.S.C. § 285.

   X.     ADOBE’S STATEMENT OF INTENDED PROOF

          78.     Adobe denies each and every allegation in ViaTech’s Statement of Intended

   Proof, which is directed to issues on which ViaTech bears the burden of proof. Adobe’s

   Statement of Intended Proof is based on the current status of the case and the Court’s current

   rulings. Adobe reserves the right to revise this statement in light of further decisions or orders of

   the Court, including without limitation any rulings on pending motions.

          79.     Adobe intends to prove that Claims 1-5, 7, 13-14, and 28 of the ’567 Patent are

   invalid as anticipated, obvious, and/or directed to unpatentable subject matter.

          80.     Adobe intends to prove that it should be awarded its reasonable attorneys’ fees

   under at least 35 U.S.C. § 285.

   XI.    SETTLEMENT

           81.    The parties to this case have never engaged in a formal settlement process,

           although there were some early discussions between counsel that did not result in any

           offers being made. In early June of this year, the parties discussed the possibility of

           pretrial mediation but no such mediation has occurred.




                                                   -20-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 26 of 33 PageID #: 9692




   XII.    AMENDMENTS TO THE PLEADINGS

           82.     Neither party intends to seek any amendment(s) to its pleadings.

   XIII. OTHER MATTERS

           A.      Length and Time of Trial

           83.     A five-day jury trial in this matter is scheduled to take place on September 18-20

   and 25-26, 2023 starting at 9:30 a.m. each day. (D.I. 140; D.I. 192.) Until the case is submitted

   to the jury for deliberations, the jury will be excused each day at a time decided by the Court.

           84.     The trial will be timed. Unless otherwise ordered, time will be charged to a party

   for its opening statement, direct and redirect examinations of witnesses it calls and cross-

   examination of witnesses called by the opposing party. Voir dire and closing argument are not

   included in the requested per side trial time allotment.

           85.     The parties each request 12 hours per side for their trial presentations.

           86.     The Courtroom Deputy will keep a running total of trial time used by counsel. If

   any party uses all of its allotted trial time, the Court will terminate that party’s trial presentation.

           B.      Order of Presentation of Evidence to the Jury

           87.     The parties propose that they each be permitted to present an affirmative case

   (i.e., presentation of evidence for issues on which the party bears the burden of proof), a rebuttal

   case (i.e., presentation of evidence rebutting the other party’s affirmative case), and that each

   party be permitted to present a rebuttal to the other’s rebuttal case (i.e., presentation of evidence

   rebutting Adobe’s rebuttal case on issues for which ViaTech bears the burden of proof, and

   presentation of evidence regarding ViaTech’s rebuttal case on issued for which Adobe bears the

   burden of proof).

           88.     Accordingly, the parties propose that the following order of presentation of

   evidence govern the jury trial:
                                                     -21-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 27 of 33 PageID #: 9693




          89.     Opening statements (ViaTech, followed by Adobe)

          90.     ViaTech’s presentation of evidence for issues on which ViaTech bears the burden

   of proof (i.e., infringement, willfulness, and damages)

          91.     Adobe’s presentation of evidence rebutting ViaTech’s presentation for issues on

   which ViaTech bears the burden of proof, and Adobe’s presentation of evidence for issues on

   which Adobe bears the burden of proof (i.e., invalidity and any other defenses).

          92.     ViaTech’s presentation of evidence rebutting Adobe’s presentation for issues on

   which Adobe bears the burden of proof, and ViaTech’s presentation of evidence rebutting

   Adobe’s rebuttal presentation for issues on which ViaTech bears the burden of proof.

          93.     Adobe’s presentation of evidence rebutting ViaTech’s rebuttal presentation for

   issues on which Adobe bears the burden of proof.

          94.     Closing arguments (ViaTech, followed by Adobe, followed by rebuttal by

   ViaTech).

          C.      Motions in Limine

          95.     Agreed motions in limine are set forth below:

          a.      The parties shall be precluded from introducing evidence, testimony or argument

                  regarding the parties’ sources of funds, financing or attorney-fee compensation

                  including amount or structure.

          b.      The parties shall be precluded from introducing evidence, testimony or argument

                  regarding any expert’s past relationship with either party’s counsel or retention by

                  either party’s counsel.

          c.      The parties shall be precluded from introducing evidence, testimony, or argument

                  that raises religious or political beliefs, race, ethnicity, gender, national origin,

                  sexual orientation, or vaccination status of a party, witness, attorney, or law firm.
                                                   -22-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 28 of 33 PageID #: 9694




          d.      The parties shall be precluded from introducing evidence, testimony, or argument

                  referring to the role or presence in the courtroom of jury consultants or shadow

                  jurors, or the use of focus groups or mock proceedings to assist with trial

                  preparation, jury selection, or trial, if any are used.

          e.      Adobe shall be precluded from referring to ViaTech using the terms “patent troll,”

                  “pirate,” “bounty hunter,” “bandit,” “playing the lawsuit lottery,” “shell

                  company,” “shakedown artist,” “patent assertion entity,” “non-practicing entity,”

                  or “NPE.”

          f.      Adobe shall be precluded from introducing evidence, testimony, or argument

                  regarding the Protective Order in the case or any alleged violations thereof.

                  This would include the declaration executed by Vijay Madisetti in connection

                  with any alleged Protective Order violation, with the exception that Adobe may

                  use the declaration for impeachment only in the event that Dr. Madisetti’s trial

                  testimony contradicts his declaration testimony. Adobe agrees not to cross-

                  examine Dr. Madisetti on facts relating to when he first had access to Adobe

                  confidential information.

          96.     Pursuant to paragraph 14 of the operative scheduling order (D.I. 59), the parties’

   contested motions in limine will be separately filed.

          D.      Voir Dire, Jury Instructions, and Verdict Form

          97.     The parties are separately submitting to the Court proposed voir dire, preliminary

   and final jury instructions, and verdict forms.

          98.     The Court will conduct voir dire of potential jurors on September 18, 2023.




                                                     -23-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 29 of 33 PageID #: 9695




            E.     Jurors and Jury Procedures

            99.    On the first day of trial, each member of the jury will be provided a binder

   (prepared by ViaTech and approved by Adobe) containing: (1) the Asserted Patent, (2) the

   terms/phrases of the Asserted Claims that have been construed, any agreed constructions, and the

   Court’s constructions, (3) any agreed upon glossary of terms, and (4) several blank sheets for

   notes.

            100.   The parties agree that the jurors shall be permitted to write notes by hand on their

   notepads during the trial, and that jurors be permitted to bring their provided binders and

   notepads into the deliberation room. The jurors shall be instructed not to share the binders and

   notepads with each other, although they can discuss the contents of their notes. The jurors’

   binders and notepads be collected by the clerk each evening after daily recess and collected and

   destroyed without review after the jury’s final discharge.

            F.     Set-up of Electronic Equipment

            101.   The parties request that the Court grant them access to the Courtroom on Friday,

   September 15, 2023, the business day before trial begins, to allow them to set up electronic and

   computer devices to be used during the trial.

            G.     Handling of Confidential Information at Trial

            102.   The parties anticipate that the majority of the trial will be open to the public and

   not sealed unless a party specifically requests that a particularly sensitive portion be sealed. If a

   party makes such a request, subject to the Court’s approval, and for good cause shown, the

   courtroom shall be cleared of those individuals not qualified under the Protective Order entered

   in this case, except that each party may designate one corporate representative who may remain

   in the courtroom throughout the entirety of trial. Each party must notify the opposing party of

   the identity of this corporate representative by 7:00 pm three (3) days before trial.
                                                    -24-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 30 of 33 PageID #: 9696




          103.    Transcripts of any sealed testimony, and exhibits entered while the courtroom is

   sealed, shall remain under seal until thirty (30) days after the conclusion of the trial. Prior to that

   time, the parties may designate, by page and line designations, the portions of the transcript they

   seek to have filed under seal and the exhibits they seek to have placed under seal, subject to the

   Court’s approval. Counsel for the parties shall be responsible for supplying the necessary

   envelopes and labels for any materials placed under seal.

          H.      Sequestration of Witnesses

          104.    Pursuant to Fed. R. Evid. 615, the parties request that the Court prevent fact

   witnesses from hearing the testimony of other witnesses. The parties further request that in

   accordance with provision (2) of Rule 615, this exclusion rule will not apply to the officer or

   employee designated by each party as its representative. The parties also agree that a party may

   designate one alternate corporate representative in case the originally designated corporate

   representative is unavailable for a full day of trial. The parties further request that expert

   witnesses not be excluded for either fact or expert testimony.

          I.      Other Stipulations

          105.    The parties stipulate that the Federal Judicial Center’s Introduction to the Patent

   System video will be played as part of the Court’s preliminary jury instructions.

          106.    The parties agree that written responses to interrogatories and requests for

   admission that were served during discovery in this litigation may be used at trial consistent with

   the Federal Rules of Civil Procedure and Federal Rule of Evidence. The parties further agree

   that the written responses may be read to the jury. This does not include ViaTech’s discovery

   responses to Microsoft in the Microsoft litigation.

          107.    On September 20, 2022, in lieu of production and inspection of product software

   code, Adobe made a stipulation as to its source code. That stipulation is attached hereto as
                                                  -25-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 31 of 33 PageID #: 9697




   Exhibit I. The parties will work to prepare a revised stipulation to be read to the jury in advance

   of trial.

               108.   On August 7, 2023, in a letter requested by the Court, ViaTech represented that it

   would not argue at trial that preinstallation versions of Adobe Accused Products are a “digital

   content file.”

               109.   All motions for judgment as a matter of law pursuant to Fed. R. Civ. P. 50(a) may

   be brought to the Court orally or in writing, at any time before the jury begins deliberations. To

   the extent the court does not grant any party’s motion for judgment as a matter of law, unless the

   Court sets alternative deadlines, all oppositions to motions filed pursuant to Fed. R. Civ. P. 50(b)

   must be filed within 28 days of the filing of the motion. All replies in support of the motions

   must be filed within 21 days of service of any oppositions. The parties reserve their right to seek

   reasonable extensions of these deadlines subject to the Court’s approval.

               J.     Current status of outstanding disputed issues.

               110.   The scope of Bob Doherty’s testimony at trial. ViaTech’s Position: ViaTech

   does not currently anticipate that there will be a dispute about the scope of Mr. Doherty’s

   testimony at trial but understands the Court’s instructions about the scope of testimony and will

   provide a proffer in advance of his testimony for any testimony relating to the time after he

   ceased employment with ViaTech. Adobe’s concerns about use of materials not produced in

   discovery is unfounded, and ViaTech will work in good faith to ensure that Adobe has adequate

   time to raise any concerns it has. In addition, Adobe did not take Mr. Doherty’s deposition in

   this matter. He was deposed in his individual capacity in a deposition that occurred seven years

   ago. To the extent Adobe deems it appropriate, the testimony Adobe cites is available for Adobe

   to use on cross-examination, and is not a bar to non-hearsay testimony for which ViaTech can

   lay a foundation. Adobe’s Position: Adobe does not believe there is a foundation or a non-
                                              -26-
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 32 of 33 PageID #: 9698
Case 1:20-cv-00358-RGA-JLH Document 267 Filed 09/14/23 Page 33 of 33 PageID #: 9699
